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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION
__________________________________________
                                           )
ALTMAHA RIVERKEEPER; ONE HUNDRED )
MILES; SURFRIDER FOUNDATION; and           )
CENTER FOR A SUSTAINABLE COAST,            )
                                           )
            Plaintiffs,                    )
                                           )
      v.                                   )    Case No. 4:18-cv-00251-JRH-CLR
                                          )
UNITED STATES ARMY CORPS OF               )
ENGINEERS, et al.,                        )
                                          )
            Federal Defendants,           )
                                          )
            AND                           )
                                          )
SEA ISLAND ACQUISITION, LLC,              )
__________________________________________)

           FEDERAL DEFENDANTS’ NOTICE OF FILING SUPPLEMENTAL
                        ADMINISTRATIVE RECORD

       Federal Defendants, the United States Army Corps of Engineers (“Corps”), an agency of

the United States of America, Lieutenant General Todd T. Semonite, in his official capacity as

Commanding General of the U.S. Army Corps of Engineers, and Colonel Daniel Hibner, in his

official capacity as District Commander of the Savannah District (collectively, “Federal

Defendants”), respectfully notify the Court that the Federal Defendants’ supplemental

administrative record, supplementing the administrative record noticed with the Court on

February 28, 2019 (see ECF no. 46) for the agency action challenged in the above-captioned

matter, will be filed in physical form with the Clerk’s Office for the Southern District of Georgia.

       The supplemental administrative records include materials compiled by the Corps

concerning the Corps’ issuance of Army Permit Number SAS-2015-00742 to Sea Island
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Acquisition, LLC, and is contained on a DVD. A declaration certifying the supplemental

administrative record and a revised administrative index are also contained on the DVD. Copies

of this DVD will be provided separately via overnight delivery to Plaintiffs’ and Intervenors’

counsel.

 Respectfully submitted March 29, 2019 by

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